                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
               v.                                  )       CASE NO. DNCW3:01CR202-2
                                                   )       (Financial Litigation Unit)
MICHAEL BRUCE BRANCH,                              )
                                                   )
and                                                )
                                                   )
BENEFITS ADMINISTRATION COMMITTEE,                 )
                Garnishee.                         )

                        WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:         Benefits Administration Committee
                      c/o Lisa Anderson
                      Zurich North America
                      Zurich Towers, T2/F2
                      1400 American Lane
                      Schaumburg, IL 60196

        An Application for a Writ of Garnishment against the property of Michael Bruce Branch,

Defendant, has been filed with this Court (Docket No. 333). A judgment has been entered against

Defendant (Docket No. 296). The United States Clerk of Court current balance of $13,645,934.56,

computed through May 23, 2012, is due and owing.

        You, as Garnishee, are required by law to answer in writing, under oath, within ten (10)

days of service of this Writ, whether or not you have in your custody, control or possession any

property or funds owned by Defendant, including non-exempt disposable earnings.

        You must withhold and retain any property in which Defendant has a substantial non-

exempt interest and for which you are or may become indebted to Defendant pending further order

of the Court. This means that you should withhold 25% of Defendant=s earnings which remain after




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all deductions required by law have been withheld, and 100% of all 1099 payments. See 15 U.S.C.

' 1673(a).

           Please state whether or not you anticipate paying Defendant any future payments and

whether such payments are weekly, bi-weekly, monthly, annually or bi-annually.

       You must file the original written Answer to this Writ within ten (10) days of your receipt

of this Writ with the following office:

                            Clerk of the United States District Court
                                      401 West Trade Street
                                       Charlotte, NC 28202

       Additionally, you are required by law to serve a copy of the Answer upon Defendant at his

last known address:

                                      Michael Bruce Branch
                                     XXXXXXXXXXXXXX
                                     Mount Holly, NC 28120

       You are also required to serve a copy of the Answer upon the Plaintiff at the following

address:

                       Jennifer A. Youngs, Assistant United States Attorney
                                  United States Attorney's Office
                                     Financial Litigation Unit
                                227 West Trade Street, Suite 1650
                                       Charlotte, NC 28202

       Under the law, there is property which is exempt from this Writ of Garnishment. Property

which is exempt and which is not subject to this Order may be listed on the attached Claim for

Exemption form.

       Pursuant to 15 U.S.C. ' 1674, you, the Garnishee, are prohibited from discharging

Defendant from employment by reason of the fact that his earnings have been subject to garnishment

for any one indebtedness.




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       Pursuant to 28 U.S.C. § 3205(c)(6), if you fail to answer this Writ or withhold property

or funds in accordance with this Writ, the United States of America may petition the Court for an

order requiring you to appear before the Court to answer the Writ and to withhold property before

the appearance date. If you fail to appear or do appear and fail to show good cause why you failed

to comply with this Writ, the Court shall enter a judgment against you for the value of Defendant=s

non-exempt interest in such property. The Court may award a reasonable attorney's fee to the

United States and against you if the Writ is not answered within the time specified. It is unlawful

to pay or deliver to Defendant any item attached by this Writ.

       SO ORDERED.                              Signed: May 29, 2012




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                                   CLAIM FOR EXEMPTION FORM

               MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. '3613)
_____ 1.        Wearing apparel and school books. -- Such items of wearing apparel and such school
brooks as are necessary for the debtor or for members of his family.

_____ 2.         Fuel, provisions, furniture, and personal effects. -- So much of the fuel, provisions,
furniture, and personal effects in the Debtor=s household, and of the arms for personal use, livestock, and
poultry of the debtor, as does not exceed $6,250 in value.

_____ 3.        Books and tools of a trade, business, or profession. -- So many of the books, and tools
necessary for the trade, business, or profession of the debtor as do not exceed in the aggregate $3,125 in
value.

_____ 4.      Unemployment benefits. -- Any amount payable to an individual with respect to his
unemployment (including any portion thereof payable with respect to dependents) under an unemployment
compensation law of the United States, of any State, or of the District of Columbia or of the
Commonwealth of Puerto Rico.

_____ 5.        Undelivered mail. -- Mail, addressed to any person, which has not been delivered to the
addressee.

_____ 6.        Certain annuity and pension payments. -- Annuity or pension payments under the Railroad
Retirement Act, benefits under the Railroad Unemployment Insurance Act, special pension payments
received by a person whose name has been entered on the Army, Navy, Air Force, and Coast Guard
Medal of Honor roll(38 U.S.C. 1562), and annuities based on retired or retainer pay under Chapter 73 of
Title 10 of United States Code.

_____ 7.        Workmen=s Compensation. -- Any amount payable with respect to compensation
(including any portion thereof payable with respect to dependents) under a workmen=s compensation law
of the United States, any State, the District of Columbia, or the Commonwealth of Puerto Rico.

_____ 8.       Judgments for support of minor children. -- If the debtor is required by judgment of a
court of competent jurisdiction, entered prior to the date of levy, to contribute to the support of his minor
children, so much of his salary, wages, or other income as is necessary to comply with such judgment.

_____ 9.         Certain service-connected disability payments. -- Any amount payable to an individual
as a service-connected (within the meaning of section 101(16) of Title 38, United States Code) disability
benefit under -- (A) subchapter II, III, IV, V, or VI of Chapter 11 of such Title 38 or (B) Chapter 13, 21,
23, 31, 32, 34, 35, 37 or 39 of such Title 38.

____ 10.        Assistance under Job Training Partnership Act.
                -- Any amount payable to a participant under the Job Training Partnership Act (29 U.S.C.
                1501 et seq.) From funds appropriated pursuant to such Act.




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